         CASE 0:18-cr-00067-WMW Document 8 Filed 04/12/18 Page 1 of 1



                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                             Case No. 18-cr-00067 (WMW)

UNITED STATES OF AMERICA,

                     Plaintiff,

        v.                                        NOTICE OF APPEARANCE

TERRY J. ALBURY,

                     Defendant.


        Please add the following Assistant United States Attorney to the above-captioned

case:

        Add AUSA

        Danya E. Atiyeh


Dated: April 11, 2018
                                                Respectfully submitted,

                                                TRACY DOHERTY-MCCORMICK
                                                Acting United States Attorney for
                                                the Eastern District of Virginia



                                                DANYA E. ATIYEH
                                                Assistant U.S. Attorney
                                                Special Assistant to the Attorney General
